                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION
                           DOCKET NO. 1:15-cv-00094-MOC-DLH

 I-MINERALS USA, INC. and THOMAS A.                        )
 GALLO,                                                    )
                                                           )
                         Plaintiffs,                       )
                                                           )
 Vs.                                                       )                 ORDER
                                                           )
 RICHARD C. ZIELKE, JOSEPH C. SHAPIRO,                     )
 and UNIMIN CORPORATION,                                   )
                                                           )
                       Defendants.                         )


        THIS MATTER is before the court on “Defendants’ Motion to Dismiss Pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure” (#12). By their motion, Defendants Unimin

Corporation (“Unimin”), Joseph C. Shapiro (“Shapiro”), and Richard C. Zielke (“Zielke”)

(collectively, “Defendants”) move the court to dismiss all claims alleged in Thomas A. Gallo's

(“Gallo”) and I-Minerals USA, Inc.'s (“I-Minerals” ) (collectively, “Plaintiffs”) Amended

Complaint for failure to state a plausible claim upon which relief can be granted. Having been

fully briefed, this matter is ripe for review.

I.      BACKGROUND

     Plaintiffs filed this case in March 24, 2015 in the North Carolina General Court of Justice,

Superior Court Division, Buncombe County, North Carolina. Defendants removed this matter to

this court on May 13, 2015. The Amended Complaint in this matter generally asserts the

following facts.




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   Plaintiff Gallo is a former employee of Defendant Unimin, a company in the business of

producing high purity quartz for use in high-technology industries. Gallo worked for Unimin

from 1997 to 2009 and left his position as a research scientist with the company over five years

prior to the commencement of this lawsuit. Upon leaving his position with Unimin, Gallo signed

a five-year non-compete agreement with Unimin and agreed not to disclose any confidential

information belonging to Unimin. Following the expiration of the five-year period, on June 1,

2014 Gallo entered into a consulting contract with I-Minerals, an Idaho corporation engaged in

business as a startup operator of a multi-mineral mine in Idaho. By their contract, I-Minerals

agreed to pay Gallo a minimum of $12,000 per year, with more earnings possible if Gallo did

additional work. At some point shortly after Gallo began working for I-Minerals, I-Minerals

issued a press release announcing the new employment engagement.

   On July 28, 2014, apparently without any communication or forewarning, Unimin sued Gallo

and I-Minerals in Superior Court of Mitchell County, North Carolina, alleging generally that

Gallo had misappropriated and/or threatened to misappropriate Unimin’s trade secrets and other

confidential and proprietary information. Unimin brought claims in that case, (hereinafter, the

“Superior Court Action”), for violation of the North Carolina Trade Secrets Protection Act,

unfair and deceptive trade practices, breach of contract, tortious interference with contracts,

conversion, unjust enrichment, and breach of the implied duties of good faith and fair dealing.

Unimin also sought injunctive relief. Soon after the filing of the complaint, the Superior Court

entered a temporary restraining order (“TRO”) against Gallo and ordered the parties to conduct

discovery. After expedited discovery in that case, the court in the Superior Court Action denied




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Unimin’s motion for a preliminary injunction, dissolved the TRO, and Unimin thereafter

voluntarily dismissed its lawsuit without prejudice.

      By the complaint in the instant case, Plaintiffs allege that Defendants’ conduct in relation to

the Superior Court Action constituted a sham lawsuit, abuse of process, and malicious

prosecution. Plaintiffs allege that Defendants used that lawsuit to gain information and

documents from its competitor I-Minerals in order to interfere with I-Minerals’ business

relationships, and to prevent Gallo from using his skills and extensive knowledge of high purity

quartz for the benefit of another company. Plaintiffs allege that Defendants abused the discovery

process by seeking all documents related to I-Minerals’ and Gallo’s communications regarding

minerals, the recruitment and hiring of Gallo, and confidential trade secrets, but then refused to

respond to any of I-Minerals’ and Gallo’s document requests in return. By the instant action,

Plaintiffs have named Unimin, its Executive Vice President and Chief Operating Officer Shapiro,

and Vice President Zielke as Defendants. Plaintiffs have brought three claims as to all

Defendants: 1) abuse of process; 2) malicious prosecution; 3) and unfair and deceptive trade

practices in violation of N.C. Gen. Stat. § 75-1.1. Defendants maintain that they initiated the

Superior Court Action in good faith to prevent or remedy the unlawful disclosure of its

confidential, proprietary, and trade secret information. They seek to dismiss all of these claims

pursuant to Fed. R. Civ. P. 12(b)(6), arguing that Plaintiffs have failed to state claims upon

which relief can be granted.

II.      ANALYSIS

      A. Standard of Review

         To survive a Rule 12(b)(6) motion to dismiss, a claimant must allege facts in his



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complaint that “raise a right to relief above the speculative level.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007). “[A] plaintiff’s obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Id. (internal quotations and citation omitted). A

claimant must plead sufficient facts to state a claim for relief that is “plausible on its face.” Id. at

570 (emphasis added). As the Court elaborated in Ashcroft v. Iqbal, 556 U.S. 662 (2009), “[a]

claim has facial plausibility when the plaintiff pleads sufficient factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. at 678. This “plausibility standard” requires “more than a sheer possibility that a defendant

has acted unlawfully.” Id. Thus, a complaint falls short of the plausibility standard where a

plaintiff pleads “facts that are ‘merely consistent with’ a defendant’s liability ....” Id. (citation

omitted). While the court accepts plausible factual allegations made in a claim as true and

considers those facts in the light most favorable to plaintiff in ruling on a motion to dismiss, a

court “need not accept as true unwarranted inferences, unreasonable conclusions, or arguments.”

Eastern Shore Mkt.’s Inc. v. J.D. Assoc.’s, LLP, 213 F. 3d 175, 180 (4th Cir. 2000).

        In sum, when ruling on a Rule 12(b)(6) motion, “a judge must accept as true all of the

factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per

curiam) (citations omitted). A complaint “need only give the defendant fair notice of what the

claim is and the grounds upon which it rests.” Id. at 93 (alteration and internal quotation marks

omitted). However, to survive a motion to dismiss, the complaint must “state[ ] a plausible claim

for relief” that “permit[s] the court to infer more than the mere possibility of misconduct” based

upon “its judicial experience and common sense.” 556 U.S. at 679. While a plaintiff is not



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required to plead facts that constitute a prima facie case in order to survive a motion to dismiss,

see Swierkiewicz v. Sorema N.A., 534 U.S. 506, 510-15 (2002), “[f]actual allegations must be

enough to raise a right to relief above the speculative level…” Bell Atlantic Corp. v. Twombly,

550 U.S. at 555.

   B. Plaintiff’s Claims

   Defendants assert the following central arguments in their 12(b)(6) motion:

1. Plaintiffs’ abuse of process, malicious prosecution, and unfair and deceptive trade practices
   claims are barred by the Noerr-Pennington Doctrine, which bars liability when the
   underlying claim is not objectively baseless;
2. Plaintiffs’ abuse of process claim, if not dismissed under the Noerr-Pennington Doctrine,
   should be dismissed because the alleged abusive acts were conducted within the regular
   conduct of the lawsuit for a legitimate purpose; and
3. Plaintiffs’ malicious prosecution claim, if not dismissed under the Noerr-Pennington
   Doctrine, should be dismissed because Plaintiffs did not incur special damages and
   Defendants acted with probable cause.

See Def. Mem. (#13) at p. 2. The court will address each argument in turn.

   1. Applicability of the Noerr-Pennington Doctrine

   The court first addresses Defendants’ central argument that Plaintiffs' claims are all barred by

the Noerr-Pennington Doctrine, which “guarantees citizens their First Amendment right to

petition the government for redress without fear of antitrust liability.” Baltimore Scrap Corp. v.

David J. Joseph Co., 237 F.3d 394, 398 (4th Cir. 2001). This doctrine emerged from two

Supreme Court cases, Eastern Railroad Presidents Conference v. Noerr Motor Freight, Inc., 365

U.S. 127 (1961), and United Mine Workers of Am. v. Pennington, 381 U.S. 657, 669, both

decided in the context of federal anti-trust law. Developing case law has extended the doctrine to

litigation, including that involving business torts. See IGEN Int'l, Inc. v. Roche Diagnostics




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GmbH, 335 F.3d 303, 310 (4th Cir. 2003). “The application of Noerr-Pennington is a question of

law.” Id.

   The Supreme Court held in Prof'l Real Estate Investors, Inc. v. Columbia Pictures Indus.,

Inc., 508 U.S. 49 (1993), however, that a party may be held liable for bringing a “sham” lawsuit

against a competitor, which is a lawsuit “objectively baseless in the sense that no reasonable

litigant could realistically expect success on the merits.” Id. at 60. The Court further clarified that

“[o]nly if challenged litigation is objectively meritless may a court examine the litigant's

subjective motivation …. [and, in doing so] focus on whether the baseless lawsuit conceals ‘an

attempt to interfere directly with the business relationships of a competitor.’” Id. at 60-61

(quoting Noerr, 365 U.S. at 144). Thus, “a plaintiff may not be held liable for bringing an

objectively reasonable lawsuit, regardless of the plaintiff's subjective intent in initiating the

litigation.” GoldToeMoretz, LLC v. Implus Footcare, LLC, No. 5:09-CV-0072, 2010 WL

3474792, at *3 (W.D.N.C. Aug. 31, 2010). A lawsuit is objectively reasonable if “an objective

litigant could conclude that the suit is reasonably calculated to elicit a favorable outcome.”

Professional Real Estate Investors, 508 U.S. at 60. “[E]ven litigation that is deceitful,

underhanded, or morally wrong will not defeat immunity unless it satisfies the objective

baselessness requirement.” IGEN Int'l., 335 F.3d at 312 (citing Baltimore Scrap Corp. v. David J.

Joseph Co., 237 F.3d 394, 398–99 (4th Cir. 2001)).

   Here, Plaintiffs have alleged facts in their complaint tending to show that the Superior Court

Action was objectively baseless and otherwise constitutes a sham lawsuit. For example, Plaintiffs

argue that Unimin filed suit based solely on I-Minerals’ public statement that Dr. Gallo was

engaged “as a consultant to oversee ceramic test work and market development” and “with the



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addition of Thomas Gallo to our team we are better positioned to compete in the highly

competitive quartz markets.” (Amended Compl. ¶¶ 39, 57, 58). Plaintiffs further argue that none

of the Defendants conducted any factual investigation before filing suit, (Amended Compl. ¶ 41),

and none of them attempted to contact Dr. Gallo or I-Minerals to verify any allegation of the

Superior Court Action complaint or confirm that Dr. Gallo intended to comply with his

Confidentiality Agreement. They contend that Defendants failed to explore in any way the scope

of Dr. Gallo’s work for I-Minerals or attempt to determine whether such work might violate the

confidentiality agreement. Finally, Plaintiffs note that none of the Defendants sent warning of

Unimin’s intent to commence litigation, (Amended Compl. ¶¶ 41, 42), or attempted to confirm

whether I-Minerals actually had a plant to process quartz or any quartz product for sale before

alleging that I-Minerals had been unjustly enriched by its conversion of Unimin’s trade secrets.

(Amended Compl. ¶ 76). The court finds that if ultimately credited by a finder of fact in this

case, these pleadings sufficiently state a claim that Defendants abused their right to petition the

courts beyond the point of constitutional protection, and that the sham litigation exception to the

Noerr-Pennington doctrine may apply. See Waugh Chapel S., LLC v. United Food &

Commercial Workers Union Local 27, 728 F.3d 354, 356-57 (4th Cir. 2013).

       The court also finds that dismissing this matter based on the Noerr-Pennington doctrine,

an affirmative defense, is inappropriate given the pleadings in this case. To the extent that

Defendants argue that application of the Noerr-Pennington doctrine is not an affirmative defense,

such argument has been squarely foreclosed by the Fourth Circuit. In Waugh Chapel S., LLC v.

United Food & Commercial Workers Union Local 27, 728 F.3d 354 (4th Cir. 2013), the Fourth

Circuit examined, inter alia, the applicability of the Noerr-Pennington doctrine at the 12(b)(6)



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stage, and clearly stated, “[w]hile we have since questioned our decision to do so, we have held

that the Noerr-Penington doctrine is an affirmative defense.” Id. at 359-60. See also id. at n. 5

(noting that despite dicta, the Circuit “remain[s] bound by [their] earlier precedent that the

Noerr–Pennington doctrine is an affirmative defense”) (citing McMellon v. United States, 387

F.3d 329, 333 (4th Cir. 2004)). Generally, in ruling on a Rule 12(b)(6), the “court evaluates the

complaint in its entirety, as well as documents attached or incorporated into the complaint.” E.I.

du Pont de Nemours & Co. v. Kolon Indus., 637 F.3d 435, 448 (4th Cir. 2011) (citing Sec'y of

State for Defence v. Trimble Navigation Ltd., 484 F.3d 700, 705 (4th Cir. 2007); Phillips v. LCI

Int'l Inc., 190 F.3d 609, 618 (4th Cir. 1999)). “[W]hen ‘matters outside the pleadings are

presented to and not excluded by the court, the [Rule 12(b)(6)] motion must be treated as one for

summary judgment under Rule 56,’ and ‘[a]ll parties must be given a reasonable opportunity to

present all the material that is pertinent to the motion.’” Waugh Chapel, 728 F.3d at 360

(quoting Fed.R.Civ.P. 12(d)). However, as relevant to an affirmative defense such as the Noerr-

Pennington doctrine, a 12(b)(6) motion, “which tests the sufficiency of the complaint, generally

cannot reach the merits of an affirmative defense,” except “in the relatively rare circumstances

where facts sufficient to rule on an affirmative defense are alleged in the complaint.” Goodman

v. PraxAir, Inc., 494 F.3d 458, 464 (4th Cir. 2007). Thus, Rule 12(b)(6) motion based solely on

an affirmative defense may be considered only if “all facts necessary to the affirmative defense

clearly appear on the face of the complaint.’” Waugh Chapel, 728 F.3d at 360 (quoting

Goodman, 494 F.3d at 464 (emphasis in original)). Furthermore, the Circuit noted in Waugh

Chapel that “incorporation by reference is [not always] appropriate ... [n]or should ‘judicial

notice’ be used as an expedient for courts to consider ‘matters beyond the pleadings' and thereby



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upset the procedural rights of litigants to present evidence on disputed matters.” Waugh Chapel,

728 F.3d at 360 (citing, inter alia, Goodman, 494 F.3d at 464).

        Here, while the allegations in the face of the Amended Complaint plausibly support a

finding that the Defendants brought an objectively unreasonable lawsuit, they are insufficient to

determine the merits of the Noerr-Pennington affirmative defense. As noted in Waugh Chapel,

mere reference to the alleged sham lawsuit on the face of the complaint does not determine

whether the Noerr-Pennington doctrine bars Plaintiffs’ claims as a matter of law. See Waugh

Chapel at 360. The court therefore finds that dismissal based on the assertion of the Noerr-

Pennington affirmative defense inappropriate at this stage in the proceedings.

        2. Malicious Prosecution

    A claim for malicious prosecution under North Carolina law requires allegations that “the

defendant initiated the earlier proceeding, that he did so maliciously and without probable cause,

and that the earlier proceeding terminated in the plaintiff's favor.” Raymond U v. Duke Univ.,

371 S.E.2d 701, 706 (N.C. Ct. App. 1988) (citing Stanback v. Stanback, 254 S.E.2d 611 (N.C.

1979)). Additionally, the plaintiff must prove special damages. Id. Defendants argue that

Plaintiffs' malicious prosecution claim should be dismissed because they acted with probable

cause in the Superior Court Action and Plaintiffs did not incur special damages.

             a. Probable Cause

        “The standard for determining whether probable cause existed at the time an action was

begun is one of reasonableness. If a reasonable person would have believed and acted under the

circumstances as the defendant did, there is probable cause.” Raymond, 371 S.E.2d at 706

(internal citation omitted). Here, Plaintiffs have set forth several facts that call into question



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whether a reasonable person would have believed that probable cause existed to file the Superior

Court Action. The complaint alleges that the Defendants in this case filed suit and asserted nine

counts against Plaintiffs alleging various types of misconduct relating to trade secrets based on a

few sentences in a press release. The complaint alleges that Defendants conducted no factual

research whatsoever relating to Gallo’s employment with I-Minerals before commencing the

Superior Court Action. While Gallo has certainly not proven that no probable cause existed for

the Superior Court Action, the court finds that the factual allegations in the complaint “raise a

right to relief above the speculative level,” Bell Atlantic Corp. v. Twombly, 550 U.S. at 555, and

that dismissing the count on this basis would be inappropriate.

            b. Special Damages

       Regarding special damages, “[i]n civil actions, the plaintiff must show that there was

some arrest of his person, seizure of his property, or some other special damage resulting from

the action such as would not necessarily result in all similar cases.” Alexander v. Alexander, 567

S.E.2d 211, 213 (N.C. Ct. App. 2002). “The gist of such special damage is a substantial

interference either with the plaintiff's person or his property…” Id. (citing Stanback 254 S.E.2d

at 625). Here, Plaintiffs have alleged damages from malicious prosecution in that "Gallo and I-

Minerals have suffered and continue to suffer damages and special damages in excess of

$25,000. In particular, Gallo was restrained by the Court in a way that prevented him from

plying his general skills and knowledge, and [Unimin, Shapiro, and Zielke's] wrongful conduct

has caused and continues to cause substantial interference with Gallo's ability to find

employment or otherwise work in the industrial materials industry. During the Temporary

Restraining Order and lawsuit, I-Minerals was not able to work with Gallo while under the gun



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of litigation.” (Amen. Compl. ¶ 72). The North Carolina Supreme Court specifically noted in

Stanback, when examining the requirement of special damages in a malicious prosecution claim,

that “[h]ad [the plaintiff] alleged the issuance of a temporary restraining order or something of

like nature, the complaint would clearly have been sufficient.” Id. at 626. Here, Plaintiffs have

alleged that the TRO prevented Gallo from using his general skills and knowledge during the

pendency of the Superior Court Action from working with I-Minerals, and that it additionally

caused Gallo to have difficulty obtaining other employment in the metals industry. (Amen.

Compl. ¶ 72). The complaint also alleges that the TRO interfered with the contract rights

between I-Minerals and Gallo, and that the lawsuit generally required I-Minerals to hand over

proprietary and trade secret information. Thus, the court finds that both Plaintiffs have properly

pled special damages.

       3. Abuse of Process

       The court notes out the outset that “[t]he distinction between an action for malicious

prosecution and one for abuse of process is that malicious prosecution is based upon malice in

causing the process to issue, while abuse of process lies for its improper use after it has been

issued.” Chidnese v. Chidnese, 708 S.E.2d 725, 731 (N.C. Ct. App. 2011) (quoting Barnette v.

Woody, 88 S.E.2d 223, 227 (N.C. 1955)). “Abuse of process is the misuse of legal process for an

ulterior purpose. It consists in the malicious misuse or misapplication of that process after

issuance to accomplish some purpose not warranted or commanded by the writ. It is the

malicious perversion of a legally issued process whereby a result not lawfully or properly

obtained under it is attended (sic) to be secured.” Turner v. Thomas, 762 S.E.2d 252, 261 (N.C.

Ct. App. 2014) (internal quotations and citations omitted) (emphasis in original).



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       To state a claim for abuse of process, the plaintiff must allege: “(1) a prior proceeding

was initiated against the plaintiff by the defendant or used by him to achieve an ulterior motive

or purpose; and (2) once the proceeding was initiated, the defendant committed some willful act

not proper in the regular prosecution of the proceeding.” Semones v. S. Bell Tel. & Tel. Co., 416

S.E.2d 909, 913 (N.C. Ct. App. 1992) (citing Stanback v. Stanback, 254 S.E.2d 611, 624 (N.C.

1979)). An abuse of process claim therefore cannot stand where the alleged abuse “is confined to

its regular and legitimate function in relation to the cause of action stated in the complaint.”

Thompson v. Blessed Home Inc., 22 F. Supp. 3d 542, 545 (E.D.N.C. 2014) (citation omitted).

The alleged willful act must occur after the filing of the lawsuit. See Basic Med. Care Plus, Inc.

v. N. Carolina Mut. Life Ins. Co., No. 1:03CV00269, 2005 WL 2205016, at *12 (M.D.N.C. Sept.

6, 2005). Furthermore,

       The ulterior motive requirement is satisfied when the plaintiff alleges that the prior
       action was initiated by defendant or used by him to achieve a collateral purpose not
       within the normal scope of the process used. The act requirement is satisfied when
       the plaintiff alleges that once the prior proceedings [were] initiated, the defendant
       committed some willful act whereby he sought to use the existence of the
       proceeding to gain advantage of the plaintiff in respect to some collateral matter.

Chidnese v. Chidnese, 708 S.E.2d 725, 734-35 (N.C. Ct. App. 2011) (quoting Stanback, 254

S.E.2d at 625) (emphasis added). See also Fordyce v. Ocwen Loan Servicing, LLC, No. 1:14-

CV-00100-MOC, 2015 WL 510104, at *4 (W.D.N.C. Feb. 6, 2015) (“Both elements [of the

claim]…relate to the defendant's purpose of using the process to achieve some end foreign and

distinct from the end the process defendant used was designed to effect.”).

       Defendants argue that Plaintiffs' abuse of process claim should be dismissed because the

alleged abusive acts were conducted within the regular conduct of the lawsuit for a legitimate

purpose, and do not constitute a “willful act.” Here, Plaintiffs have alleged that Defendants used


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the Superior Court Action to stifle lawful competition, interfere with I-Minerals’ business

relationships, and permanently restrain Gallo from working in the high purity quartz industry in

any capacity. (Amend. Compl. ¶ 61). Plaintiffs have further alleged that Defendants committed

the following willful acts in the course of the litigation: (1) seeking a TRO and

preliminary/permanent injunctions to permanently sever the business relationship between I-

Minerals and Gallo and restraining Gallo from working competitively with Unimin in any

capacity; (2) seeking expedited discovery from I-Minerals, including a specific demand for I-

Minerals’ highly confidential proprietary and trade secret information, despite having no

intention of providing any reciprocal discovery to I-Minerals; and (3) using the Superior Court

Action to attempt to leverage an agreement from Dr. Gallo tantamount to a lifetime non-compete

agreement for work with quartz mining or processing. (Amended Compl. ¶¶ 47-52, 62-64). The

court finds that such allegations are more than sufficient to plausibly allege willful acts whereby

Defendants allegedly sought to use the existence of the proceeding to gain advantage of the

plaintiff in respect to a collateral matter. See Chidnese, 708 S.E.2d at 734-35.

   C. Conclusion

   For the reasons stated herein, the court finds that the facts alleged in the Amended Complaint

plausibly state grounds for relief for all claims asserted, and that dismissing this action at this

time is inappropriate. The court therefore enters the following Order.




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                                        ORDER

       IT IS, THEREFORE, ORDERED that “Defendants’ Motion to Dismiss Pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure” (#12) is DENIED without prejudice

subject to renewal in the form of a motion for summary judgment.



 Signed: September 16, 2015




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